      Case 2:03-cr-20039-PKH                     Document 225             Filed 11/04/11                  Page 1 of 3 PageID #: 257

bAO 245D      (Rev. l2l03) Judgmentin a Criminal Casefor Rcvocations
              Sheet I



                                    UhrrrnnSraresDlsrrucTCoURT
                      WESTERN                                    Districtof                                ARKANSAS
         LiNITEDSTATESOFAMERICA                                        JUDGMENTIN A CRIMINAL CASE
                               v.                                      (For Revocationof Probationor SupervisedRelease)


               NHAN VAN NGUYEN                                         CaseNumber:                         2:03CR20039-001
                                                                       USM Number:                               I0
                                                                                                           06584-0
                                                                       William Blair Bradv
                                                                       Defbndant'sAttomey
THE DEFENDANT:
X was foundin violationof condition(s) New Law Violation and StanrlardDrug Condition of the term of supervision.

tr   pledguilty to violationof condition(s)                                         afterdenialofguilt.
The defendantis adjudicatedguilty ofthese violations:


Violation Number                Natureof Vlolation                                             Violation Ended
New Law Violation                      andCharged
                                Arrested            with KnowinglyConspiringwithOtherDefendantst0lt9/2010
                                         with Intentto Distribute
                                to Possess                      Methamphetaminein U.S.District
                                Court,WesternDistrictof Arkansas, Case#2:10M2035-004

StandardDrug Condition          TestedPositive
                                             for Methamphetamine
                                                             on l0/04/2010                                       1010412010


       The defendantis sentencedas providedin pages2 through _}_          of thisjudgment. The sentenceis imposedby
referringto the U.S. SentencingGuidelinesasonly advisorywithin the statutoryrangefor offense(s).

E    ttrE defendanthasnot violatedcondition(s)                                  and is dischargedas to suchviolation(s)condition.

         It is orderedthat the defendantmust notifv the United Statesattornevfor this district within 30 daysof any
chanseof name.residence.     or mailins addressuntfl all fines.restitution.cost5.and specialassessments imdosedbv this iudementare
fully-paid. If orderedto pdy restitutidn,the defendantmust irotiff the c6urt add United Statesattorneyof materialchanfiesin
economlcclrcumstances.

        Soo.Sec.No,:
Dofendant's               XXX-XX-9361                                  November3. 201I
                                                                       lJate of Inrposition of Judgment
Def'endant's
         Dateof Birth:    XX/XX/ | 967

                                                                       /S/ RobertT. Dawson
                                                                       SignatureofJudge
Defbndant'sResidenccAddres:.

XXXXXXXXXXX
Fort Smith AR 72S04                                                    HonorableRobertT. Dawson.United States
                                                                       Name and Title ol'Jtrdge



                                                                       November
                                                                             S,?01I
         MailingAddress:
Defendant's

Same as above
       Case 2:03-cr-20039-PKH                 Document 225                Filed 11/04/11   Page 2 of 3 PageID #: 258

AO 245D      (Rev.I 2/03Judgment
                               in a CriminalCasefbr Revocations
             Sheet?- Imprisonment

                                                                                           Judgment-Page L    of   _l_
DEFENDANT:                 NHAN VAN NCUYEN
CASENUMBER:                2:03CR20039-001


                                                       IMPRISONMENT

         The defendantis herebycommittedto the custodyof the UnitedStatesBureauof Prisonsto be imprisonedfor a total
total termof :     eighteen(18) months. Term to run concurrent with sentencein Case# 2ll0CR200S7-001.No
supervisionwill follow term of imprisonment.




   tr                                            to the Bureauof prisons:
        The courtmakesthe following recommendations




   X    The defendantis remandedto the custodyof the UnitedStatesMarshal.

        The defendantshallsurrenderto the UnitedStatesMarshalfor this district:

        trat                                  E a.m.       I      p.m.   on
              as notifiedby the United StatesMarshal.

   !    The defendantshallsurrenderfor serviceofsenlenceat the institutiondesignated
                                                                                   by the BureauofPrisons:

        n     before2 p.m.on

        tr   asnotifiedby theUnitedSrates
                                        Marshal.
        tr   asnotifiedby theProbation
                                     or PretrialServices
                                                       Office.

                                                               RETURN
I haveexecutedthisjudgmentas follows:




        Defendantdeliveredon

                                               with a certifiedcopy of thisjudgment.




                                                                                       UNITEDSTATESMARSHAL


                                                                     By
                                                                                    DEPUTYUNII'ED STATESMARSHAL
         Case 2:03-cr-20039-PKH                    Document 225                 Filed 11/04/11        Page 3 of 3 PageID #: 259
AO 245D    (Rev. 12i03)Judgmentin a Criminal Casefbr Revocatiorls
           Sheet5 - Criminal Monetarv Penalties
                                                                                                            - Page -l-
                                                                                                      Judgment              of -3-
DEFENDANT:                      NHAN VAN NGUYEN
CASENUMBER:                     2:03CR20039-001
                                      CRIMINAL MONETARY                               PENALTIES

     The defendantmustpay the following total criminalmonetarypenaltiesunderthe scheduleof paymentssetfotth on Sheet6.


                   Assessment                                            Fine                             Restitution
TOTALS           $ -0-                                               $ -0-                               $ 0-
                                                                                                          -



n    The determinationof restitutionis defered until                    An AmendedJudgmentin a Criminal Case(AO245C) will be entered
     after suchdetermination.

n    The defendantshallmakerestitution(includingcommunityrestitution)to the following payeesin the amountlistedbelow.

     If the defendantmakesa nartial Davment.eachnaveeshall receivean annroximatelvnronortionednavment.unlessspecifiedotherwisein
     the priority orderor percentage ilayment'coluninbelow. However,puisuantto l8U.S.C. $ 366a(i),all nohfederalVictimsmustbe paid
     befrirethe United Stites is paid.'

Name of Payee                              Total Loss*                           RestitutionOrdered                 Priority ot Eereenlase




TOTALS


!    Restitutionamountorderedpursuantto pleaagreement $

!    The defendantmustpay intereston restitutionor a fine morethan$2,500,unlessthe restitutionor fine is paid in full beforethe
     fifteenthday afterthe dateof thejudgment,pursuantto l8 U.S.C.$ 3612(0. All of the paymentoptionson Sheet6 may be
     subjectto penaltiesfor delinquencyand default,pursuantto l8 U.S.C.$ 3612(g).

tr   The court determinedthat the defendantdoesnot havethe ability to pay interestand it is orderedthat:

     D    the interestrequirementis waivedfor the           tr   fine      !    restitution.

     n    the interestrequirementfor the       !     fine        n   restitutionis modifiedas follows;



* Findingsforthetotalamou_nt        preryqgiredunderChapters109A,I10, I l0A, and I l3A of Title l8 for offensescommittedon or after
                           of losg.eq
Septemb-er 13,1994,but beforeApril23, 1996.
